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AO I 06 (Rev. 06/09) Application for a Search Warrant



                                       UNITED STATES DISTRICT COURT
                                                                                                                    NOV 15 2019
                                                                     for the
                                                         Southern District of California                   Cl.t.9 K ;JS :)!Si f\\CT CC).JRT
                                                                                                        SOUTHERN osrRICT Or C1\L1FORN IA
             In the Matter of the Search of                                                             BY                               DEPUTY

        (Briefly describe the property to be searched                   )
         or identify the person by name and address)                    )
           Samsung Galaxy Cellular Telephone
           Model A20, IMEI 355720106967460
                                                                        )
                                                                        )           Case   Nj   9 MJ 5 1 Q6
                                                                        )
                                                                        )

                                              APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
prop erty to be searched and give its location):

 As described in Attachment A
located in the              Southern               District of              California           , there is now concealed {identify the
person or describe the property to be seized):

 As described in Attachment B

          The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more) :
               rif evidence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
            Code Section                                                        Offense Description
        18 U.S.C. § 545                             Smuggling and Importation
        16 U.S.C. § 1538                            Trade or Possessing Specimens Traded in Violations of CITES
        16 U.S.C. § 1540                            Engaging in Business as Importer of Fish and Wildlife Without a License
          The application is based on these facts:
        Set forth in attached affidavit

           0 Continued on the attached sheet.
           0 Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.       --


                                                                                         ~      Applicant 's signature
                                                                                                                           .   - --- --·   ---- - -




                                                                                         Eduardo Nieves, FWS Special Agent
                                                                                                Printed name and title

Sworn to before me and signed in my presence.


Date:      IIA)lul'j                                                        ~14::;-
City and state: San Diego, California                                         HON . ANDREW G. SCHOPLER, U.S. Magistrate Judge
                                                                                                Printed name and title
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                               Attachment A



The property to be searched is a black Samsung Galaxy cellular

telephone model A20 , IMEI # 355720106967460 . The cellular telephone

is c urr e n t l y in the possession of the FWS , 610 Ash Street, Sui t e 1103 ,

San Diego , California .
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                             Attachment B

      The fo ll ow i ng evidence to be searched for and seized i s
limited to ev i dence of violations of Title 18 U.S.C § 371
(Conspiracy) ;    Title 18 ,   U.S . C. § 545  (Smuggling/Importation
Contrary to Law) ; and Title 16 U. S.C . § 1538 (c) and (d) and 1540
(b) (1) (Unlawful Trafficking in Wildlife) , for the period from
October 1 , 2019 to present :

     1.    Communications , records , or data including but not
limited to emails , t ext messages , photographs , audio files ,
videos , or location data :

          a.    tending to indicate efforts to import , export ,
                purchase ,    se l l , transport  and/or  ship   sea
                cucumbers , and/or other wildlife protected by the
                Convention on International Trade in Endangered
                Species    (C I TES) ,  including related  financial
                information ;

          b.    images of sea cucumbers and/or other wildlife
                protected by the Convention on International Trade
                in Endangered Species ;

          c.    tend i ng  to i nd i cate know l edge of the   legal
                requirements for the purchase , sale, transport ,
                shipment , import and export of sea cucumbers and/or
                other wildlife protected by the Convention on
                International Trade in Endangered Species

          d.    tending to identify other facilities ,     storage
                devices , or services- such as email addresses , I P
                addresses ,   phone    numbers - that may  contain
                electronic evidence tending to indicate efforts to
                illegally traffic in sea cucumbers ;

          e.    tending    to   i dent i fy co - conspirators ,   cr i min a l
                associates ,     or    others     involved   in    i l l egal
                traff i cking in sea cucumbers;

          f .   tend i ng to identify travel to or presence at
                locations where sea cucumbers were purchased , sold ,
                transported and/or de l ivered ;




                                   1
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          g.   tend i ng to identify the user of , or persons with
               control over or access to , the subject phone ; or

          h.   tending to place in context , identify the creator
               or   rec i pient of ,  or establish the time of
               creation or      receipt of communications , records ,
               or data above .




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 1                                          AFFIDAVIT IN SUPPORT OF
                                         APPLICATION FOR SEARCH WARRANT
 2

 3   II I ,     Eduardo R . Nieves , being duly sworn , depose, and state:

 4 II                                                     INTRODUCTION

 5                1.     I am a Special Agent               ("SA")         of the United States Department

 6 ll of the Interior , Fish and Wildlife Service ("FWS") assigned to the San

 7   II   Diego , California, field office .                        I have been employed by the FWS as a

 8   II   Special Agent since July 2011.                        During my employment with the FWS,                      I

 9 ll have conducted and participated in numerous investigations pertaining

10 II to violations             of      federal      and state wildlife               laws .           Prior to being

11 II employed as a Special Agent, I held the position of a Wildlife Inspector

12   II   for    FWS    from    December           2004    to       July    2011.         I     also    served   as    an

13 II Investigator for the Guam Attorney General ' s Office (from June 1997 to

14 II November           2004) ,       and    Conservation            Officer         (Game         Warden)    for    the

15   II   Government of Guam ' s Agriculture Department                              (from July 1991 to June

16 11 1997).
17                2.     As a Special Agent for the FWS ,                      I attended the FWS Special

18 II Agent Basic Training at the Federal Law Enforcement Training Center in

19 II Glynco , Georgia .               The training I received included instruction on the

20 II requirements and implementation of the Convention on the International

21 IITr ade in Endangered Species of Fauna and Flora (" CITES " ) , including the

22 II requirements for importing and exporting species of wildlife covered by

23   II   CITES.       Training      also     included       instruction            for       the   requirements      and

24 II implementation               of        the     Endangered            Species        Act ,        including      the

25 II requirements for importing and exporting species of wildlife listed as

26   II   endangered .

27                3.     This affidavit is intended to support an application by the

28 II United           States     of    America       for       a    search    warrant          for     four   cellular
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 1 II telephones found in the possession of John Jaimes Torres                       (hereinafter

 2 ll" the subject phones " ) as he entered the United States from Mexico . These

 3 II phones are briefly described as :

 4            a.   Silver   iPhone     cellular     telephone    model   A1634 ,   FCC     ID#    579C

 5   E2944A

 6            b.   Black LG cellular telephone model LGMP260 ,                  IMEI#    352130-09-

 7   964551 - 6. Serial number is 711CYUU964551 .

 8            c . Black LG cellular telephone model LM - X210MA ,               IMEI# 357603 - 09 -

 9 11 113463-5 . The serial number is 805CYNL113463.

10            d.    Black   Samsung     Galaxy      cellular    telephone    model      A2 0 ,   IMEI#

11   355720106967460.

12            I seek authority to search the subject phones , more fully described

13   in Attachment A, for items, more fully described in Attachment B, which

14   constitute evidence of violations of federal criminal law by John Jaimes

15   Torres and others ,         relating to illegal trafficking in sea cucumbers ,

16   that is ,      Title 18 ,   United States Code,           Section 54 5 ,    which prohibits

17   smuggling ,      and importation contrary to law;              Title 16 ,     United States

18   Code ,    Sections 1538     (c)    and   (d)   and 1540(b) , which prohibit knowingly

19   engaging in trade or possessing specimens traded in violations of the

20   provisions of CITES , and knowingly engaging in business as an importer

21   of fish and wildlife without a license from the U.S. Fish and Wildlife

22   Service ; and Title 18 , United States Code , Section 371 , which prohibits

23   conspiracy to commit offenses against the laws of the United States.

24            4.    The facts    set forth in this affidavit are based on my own

25   personal knowledge , knowledge obtained from other individuals during my

2 6 II participation in this investigation,               including other law enforcement

27   officers in the United States and Mexico , and information gained through

28   my training and experience .              Because this affidavit is submitted for
                                                      2
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 1 II the limited purpose of establishing probable cause in support of the

 2 II application for a search warrant , it does not set forth each and every

 3   II   fact    that       I   or       othe r s    have     learned          during     the   course     of    this

 4        investigation.

 5               5.       Sea cucumbers are aquatic invertebrates and are members of

 6   II   the class        Holothuroidea             (not    the classes defined as               fish) ,   and are

 7 II regulated in the United States as wildlife , not fishery products.

 8                                                   APPLICABLE U.S. LAWS

 9

10               6.       In addition to smuggling (or failing to declare merchandise) ,

11   II   Section 545 of Title 18 of the United States Code als o prohibits the

12   II   fraudulent or knowing importation of merchandise from the United States

13 II contrary t o any U.S . law or regulation (provided that there is a statute

14   II   specifying that a violation of the regulation is a crime ) , or in any

15 II manner faci li tating the transportation ,                              or sale of such merchandise ,

16 II knowing it was imported contrary to law .

17   II          7.       The     Endangered            Species         Act ,     Sections       1538 ( c) ( 1)    and

18111540(b) (1 ) of Title 16 of the United States Code , prohibits engaging in

19   II   trade in a species covered by the Convention on International Trade in

20 II En dangered Species (CITES) contrary to the provisions of the agreement .

21 II The        regulations          prohibit          the     import ,        export ,    re - export     and    any

22 II i nternational trade in a species covered by CITES unless in compli ance

23 ll with the regulations.                          50 C . F.R .   §   23 .1 3(a) .       In order to lawfully

24 II export          a   species         covered by CITES ,            the     exporter must       obtain ,      at   a

25 llmi nimum , a CITES Export Permit from the U. S . Fish and Wildlife Service

26   II   ("FWS " ) .     50 C . F . R.    §§   23 . 20(e) and 23 . 36 .         The United States and Mexico

27   II   are a ll signatories to CITES.                      Only one sea cucumber species found in

28 II Mexico , Isostichopus fuscus , is listed in CITES , on Appendix III.
                                                                    3
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 1                   8.      Import / export          licenses     from     the           FWS       are     required      for   the

 2 II commercial i mportation and exportation of fish and wildlife , pursuant

 3 llt o 16 U. S . C.              §   1538(d) (1) ,      and 50 C. F . R.        §       14 . 91.          Fish and Wildlife

 4   II   regulati ons            create     a       rebuttable      presumption                    that    more     than   eight

 5   II   specimens of any single spec i es constitutes a commercial quantity.                                                   50

 6   II   CFR    §     14 . 4.         Federal regulati ons further require that a declaration

 7   II   form        ( Form 3-1 77)       be presented to              FWS with each import and export ,

 8 ll pursuant to 50 C.F . R .                   §   14 . 61 and 50 C . F . R .       §    14. 63 , respectively .              The

 9 II Form            3 - 177     requires       information        to    be      provided ,               under     penalty     of

10 II perjury , regarding the name and address of the importer and exporter ,

11   II   the FWS import/export permit number ,                           the name of the transporter and

12   II   the Customs broker, and the scientific and common name of the species

13   II   involved ,         as well as the quantity ,                  value ,       and country of origin .                    In

14   II   addition,          to obt ain Customs clearance of wi l dlife exported from the

15   II   United States (required for a lawful export) , an exporter must provide

16 !I to         FWS        all    permits       or     other     documents           required              by     the   laws    or

17 II regulations of any fore ign country .                              50 C .F. R .           §    14 . 52(c) (3) .

18   II                                      STATEMENT OF PROBABLE CAUSE

19   II              9.      On November 13,             2019 ,   at approximately 11:00 am ,                            defendant

20 II John Jaimes Torres (Torres) entered the United States from Mexico at the

21 II Otay Mesa Po r t of Entry, as the driver and sole occupant of a 2003 F150

22 II Ford pickup , registered to him.                            At the primary inspection area , Torres

23   II   twice stated he had nothing to declare from Mexico .                                             The primary officer

24   II   conducted a veh icle search and found multiple sealed bags contain in g

25        dried sea cucumbe rs concealed within the vehicle .

26                   10 .    Torres was referred to vehicle secondary , where he told the

27 IIAgriculture Specialist that a friend gave him the bag of sea cucumbers .

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 1   II   The Agriculture specialist inquired if Torres had more than one bag of

 2   II   sea cucumbers , to wh i ch Torres responded "no ".

 3   II        11 .    In the secondary inspection area ,        inspectors found numerous

 4   JI   packages of dried sea cucumbers concealed in the vehicle .            Three packages

 5   JI   were found in an orange toolbox , located within the back of the pickup

 6 llb ed . Eight packages were found in a brown toolbox,                  located within the

 7   II   back of the pickup bed . Twenty packages were found inside a " KNAACK "

 8 II toolbox         concealed   underneath   three   plastic    tubs .     Three   additional

 9   II   plastic tubs were l ocated inside the " KNAACK "          toolbox ,    two of which

10 II contained fourteen packages and the other contained fifteen packages .

11   II   Fourteen more packages were found below " KNAACK " toolbox , and thirteen

1 2 II packages were discovered behind rear seats fac t ory compartment panel,

1 3 II totaling 101 packages , weighing approximately 145 kgs . In addition , some

14 ll of the areas in which the sea cucumbers were concealed were secured by

15   II   locks with keys found on TORRES key ring for his vehicle.

16             12.     No CITES documentation or FWS import/export license related

17 ll to the sea cucumber was located.            The sea cucumbers were identified by

18 Ila Wildlife Inspector at the Port of Entry as of the species Isostichopus

19 II fuscus .        A check of the records of the FWS indicated that there was no

20   II   record of a license from the FWS to import or export fish or wildlife

21   II   issued to defendant Torres at any time.

22             13 .    After advisement of his Constitutional rights , Torres waived

23   II   his rights in writing and claimed that he had never seen sea cucumbers

24   II   before , and was trying to do a favor for a friend .             TORRES confirmed he

25   II   did not declare the sea cucumbers .          When asked how many bags of sea

26 ll cucumbers he had , Torres stated " two or three ."             Torres acknowledge he

27   II   owned the vehicle. Torres said he was only going to be paid $20 . 00 USD ,

28 II although he had $1682 . 00 USD in his possession .
                                                  5
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 1 II        14.     On November 13, 2019, I took custody of the phone and the sea

 2 II cucumbers seized from Torres.                Based on my experience and training,                 I

 3 II believe       the   sea   cucumbers     seized       from       Torres     is   of   the   species

 4 II Isostichopus        fuscus ,   which is protected under Appendix III of CITES.
 5 II Federal regulations require that a CITES certificate from the country

 6 ll of origin be presented at the time of importation for all species covered

 7 ll by CITES .      50 CFR §23.13(a).       Torres had no CITES paperwork with him at

 8 II the time of importation.

 9           15.     I caused a check to be made of the records of the U.S.                          Fish

10      and Wildlife Service and learned that Torres had no license to import

11 II commercial quantities of sea cucumbers .                       Federal regulations establish

12 Il a   rebuttable       presumption      that    eight       or    more     similar     unused   items

13 II constitute a commercial quantity .              50 CFR §14.4 .           The approximately 145

14 II kilograms imported by Torres in November of 2019 consisted of well in

15 II excess of eight individual specimens .

16           16 .    At   the   time   he   entered       the   United       States   from    Mexico   on

17      November 13, 2019 , Torres was in possession of four cellular telephones

18      described as follow:

19           a . Silver iPhone, model A1634 , FCC ID# 579C E2944A ,

20 11        b. Black LG model LGMP260 , IMEI# 352130-09-964551-6 . Serial number

21      is 711CYUU964551.

22           c . Black LG model LM-X210MA , IMEI# 357603-09 - 113463 - 5 . The serial

23      number is 805CYNL113463 .

24           d.     Black Samsung Galaxy model A20 , IMEI# 355720106967460 .

25 II        While he was being interviewed at the Port of Entry, Torres received

26l l multiple cellular calls from a Mexican phone number identified in his

27   II contacts    as belonging to "Cisco . "

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 1           17.     Based on my experience and training ,                           and conversations with

 2 II others involved in enforcement of laws pertaining to fish and wildlife,

 3 II I know that people involved in illegal trafficking in fish and wildlife ,

 4 !l and sea cucumbers in particular, frequently send photographs of the sea

 5 !! cucumbers or other wildlife to others , to demonstrate the species, size

 6 ll and quality of the product.                      Persons trafficking in fish and wildlife ,

 7 !l and sea cucumber in particular, are also known to send photographs, text

 8 II messages       and    emails        to     others      regarding     shipments         of    sea   cucumber,

 9 II prices, transportation and delivery arrangements , as well as records of

10 II financial transactions involving the wildlife products .                                       Such persons

11 II also are known to conduct internet research and save documents regarding

12 II the    legal       requirements           for    the    purchase      sale ,    transport,         shipment ,

13 II import       and     export     of       wildlife       products .    Based      on     my    training     and

14 II experience , and conversations with other law enforcement agents , I know

15 II that commercial dealers in marine species post images of their products

16 II on    the    internet         and     send      images       and   messages      via    email,       Facebook

17 II Messenger ,        WhatsApp ,        and     other      social     media   platforms          to   potential

18 II customers       to    facilitate           sales ,     which are      found on cell phones .                In

19 II particular , with respect to international sales ,                              I    know that business

20 ll is conducted via electronic mail and cell phones, including transmission

21 ll of invoices and records of payment and shipping records ,                                      in order to

22   facilitate          the       international           transactions.         I     know       that    in   other

23   investigations            I     have       seen       shipping      records ,        receipts ,      financial

24 !I records , and documents sent via email , text messages and apps found on

25 II cell    phones .         I    also       know    that     such     businesses        contact       regulatory

26l l agencies       (federal, state,             local and foreign)          via email and cell phone ,

27 11 seeking and providing information and documentation.                                        Such businesses

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                                                               7
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 1   II   are also known to send and receive via email on links accessed via cell

 2   II   phones to informational sites on the internet relevant to their business.

 3   II          18 .   Based on my experience and training in working international

 4 ll wildlife          trafficking       investigations ,       I   know   that      individuals     must

 5   II   communicate well in advance with vendors , brokers,                    freight forwarders,

 6   II   travel agents , and trans-shippers to coordinate the logistics, invoices ,

 7 II bills of lading , flights , and payments of international shipments, and

 8 II for purchasers to make arrangements to meet with suppliers and determine

 9   II   what merchandise is available.              For this        reason,    I    believe there is

10   II   probable cause to believe that there is relevant data on the subject

11   II   phone beginning on or about October 1, 2019.

12   II                                      Cellular Telephone

13 II            19 .   It is not possible to determine, merely by knowing the cellular

14 II telephone ' s       make,    model    and   serial       number,   the    nature      and   types   of

15 II services to which the device is subscribed and the nature of the data

16   II   stored on the device .           Cellular devices today can be simple cellular

17 !! telephones and text message devices , can include cameras, can serve as

18   II   personal digital assistants and have functions                       such as calendars and

19   II   full   address books and can be mini-computers allowing for electronic

20 llmail         services ,   web    services     and        rudimentary   word      processing.         An

21   II   increasing      number     of    cellular      service     providers        now   allow    their

22   II   subscribers to access their device over the internet and remotely destroy

23        all of the data contained on the device.                   For that reason , the device

24        may only be powered in a secure environment or , if possible, started in

25 II "flight mode ," which disables access to the network.                              Unlike typical

26   II   computers,     many cellular telephones do not have hard drives or hard

27   II   drive equivalents and store information in volatile memory within the

28   II   device or in memory cards inserted into the device.                        Current technology
                                                          8
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 1   II   provides some solutions for acquiring some of the data stored in some

 2   II   cellular telephone models using forensic hardware and software .                           Even

 3 ll if         some    of   the   stored   information     on    the   device     may    be   acquired

 4 II forensically , not all of the data subject to seizure may be so acquired .
 S II For devices that are not subject to forensic data acquisition or that

 6   II   have    potentially       relevant    data    stored    that   is   not   subject     to   such

 7 II acquisition,            the examiner must inspect the device manually and record

 8   II   the process and the results using digital photography.                      This process is

 9   II   time , labor intensi ve , and may take weeks or longer.

10   II           20 .   Following the issuance of this warrant ,               I   will collect the

1111subject cellu lar telephone and subject it to analysis .                               All forensic

12 II analysis of the data contained within the telephone and its memory cards

13   II   will employ search protocols directed exclusively to the identification

14 !l and extraction of data within the scope of this warrant .

15   II           21 .   Based on the foregoing , identifying and extracting data for a

16   II   ce llular      telephone    subject   to     seizure    pursuant    to    this   warrant   may

17   II   require a range of data analysis techniques,                   including manual review ,

18   II   and,    consequently , may take weeks or months . The personne l                   conducting

19   II   the identification and extraction of data will complete the analysis

20 II within ninety (90) days , absent further application to this court , and

21 II the cellular phone will be returned to its owner .

22        II
23        II
24        II
25        II
26        II
27        / /

28        //
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 1                                        CONCLUSION

 2         22 .    Based on the foregoing , there is probable cause to believe the

 3 II items identified i n Attachment B constitute evidence of violations of

 4 II Title 18 ,   United States Code ,   §§ 371 ,   545 and Title 16 ,   United States

 5 II Code , §§1538 and 1540 ,   and will be found on the cellular telephone to

 6   be searched as described in A t t a c h m e n t ~

 7
                                               Eduardo Niev
 8
                                               Special Agent , USFWS OLE
 9

10
     Subscribed and sworn to before me this , ~day of November 2019
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12

13   HON~ ! G. SCHOPLER -
     UNITED STATES MAGISTRATE JUDGE
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